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                                                                                       United States District Court
                                                                                         Southern District of Texas

                                                                                            ENTERED
                                                                                          October 25, 2018
                             UNITED STATES DISTRICT COURT
                                                                                         David J. Bradley, Clerk
                              SOUTHERN DISTRICT OF TEXAS
                                  MCALLEN DIVISION

UNITED STATES OF AMERICA,         §
                                  §
VS.                               § CIVIL ACTION NO. 7:08-CV-206
                                  §
1.22 ACRES OF LAND, MORE OR LESS, §
et al,                            §
                                  §
       Defendants.                §

                                              ORDER

         On October 10, 2018, this case was transferred to this Court. The last status report1 in this

case was filed by the Government on October 15, 2012. On July 7, 2017, the transferring Court

issued an order2 granting the Government’s motion3 to withdraw the Notice of Disclaimer

Executed by Matias Flores, Jr.4 and an order5 dismissing Christie Elizabeth Flores Salazar from

the case. Since then, nothing substantive has been filed. In light of the transfer, the Court

ORDERS Plaintiff and each Defendant to individually file a report by December 9, 2018,

informing the Court of each party’s status and intended future action.

         IT IS SO ORDERED.

         DONE at McAllen, Texas, this 25th day of October, 2018.


                                                   ___________________________________
                                                   Micaela Alvarez
                                                   United States District Judge




1
  Dkt. No. 20.
2
  Dkt. No. 28.
3
  Dkt. No. 27.
4
  Dkt. No. 26.
5
  Dkt. No. 29.

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